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            Exhibit 18
August 12, 2020 Email from Jeanine
Zalduendo to William Fischbach and
        Robert D. Mitchell




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From:                              Jeanine Zalduendo
Sent:                              Wednesday, August 12, 2020 4:01 PM
To:                                William Fischbach; Robert D. Mitchell
Cc:                                Michael Lifrak; Alex Spiro; Aubrey Jones; Kaleigh Stilchen; Zachary R. Cormier
Subject:                           Tesla v. Tripp - Tripp's Renewed Social Media Postings


Robert and William,

Mr. Tripp continues to post Tesla’s confidential materials on Twitter, including by making the entire case file available on
Google Drive once again. This is in violation of the Court’s Order of yesterday, [ECF No. 205]. Accordingly, we will be
seeking emergency relief from the Court to advance the hearing on the Order to Show Cause, in addition to sanctions
dismissing of Mr. Tripp’s Counterclaim and striking Mr. Tripp’s Motion for Summary Judgment and any other relief
deemed just by the Court, if Mr. Tripp does not immediately remove this information by 5 pm PST.


Regards,
Jeanine

Jeanine Zalduendo | quinn emanuel urquhart & sullivan, llp
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Los Angeles, CA 90017
Direct: (213) 443-3632
Main Phone: (213) 443-3000
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